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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                  January 29, 2020
                             UNITED STATES DISTRICT COURT
                                                                                 David J. Bradley, Clerk
                              SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

CARLOS VILLARREAL,                           §
                                             §
         Plaintiff,                          §
VS.                                          § CIVIL ACTION NO. 7:19-CV-00075
                                             §
WEBCOLLEX, LLC; dba CKS                      §
FINANCIAL,                                   §
                                             §
         Defendants.                         §

                      ORDER ON DISMISSAL WITH PREJUDICE

       Plaintiff, Carlos Villarreal (“Plaintiff), by and through his attorneys, Sulaiman Law

Group, Ltd., having filed with this Court the Agreed Stipulation of Dismissal with Prejudice

(Dkt. No. 26) and the Court, having reviewed same, now finds that this matter should be

dismissed.

       IT IS THEREFORE ORDERED by this Court that the above cause of action is hereby

dismissed, with prejudice.

       SO ORDERED this 29th day of January, 2020, at McAllen, Texas.


                                             ___________________________________
                                             Randy Crane
                                             United States District Judge




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